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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS
AUSTIN DIVISION

DEBORAH PARKER and
DONALD PARKER

Plaintiffs,
vs. Cause No.1:07-cv-338-SS

KEY BANK, N.A.

Defendant.

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AFFIDAVIT IN SUPPORT OF UNFILED SUMMARY JUDGMENT EXHIBITS

BEFORE ME the undersigned authority, on this day personally appeared Leslie M. Luttrell,
who swore on her oath that the following facts are true:

“My name is Leslie M. Luttrell. | am over the age of 18 years, | am of sound mind and fully
competent to make this Affidavit. | am personally acquainted with the facts herein stated and they
are each true, correct and based upon my personal knowledge.

! am a partner and founding member of the law firm of Morgan & Luttrell, L.L.P. | was
licensed to practice law in the State of Texas in May, 1984. | am an attorney in good standing with
the State Bar of Texas and is licensed to practice before all Texas State Courts, in the United
States District Courts for the Northern, Southern and Western Districts of Texas, the United States
Court of Appeals, Fifth Circuit as well as the United States Tax Court. | hold an “AV” rating with
Martindale-Hubbell.

| received my Bachelor of Aris degree in 1981 and my Juris Doctor in 1983 from St. Mary's
University. From 1983 to 1985, | served as Senior Law Clerk to the Honorable Bert W. Thompson,
Chief Bankruptcy Judge, United States Bankruptcy Court, Western District of Texas. | entered the
private practice of law in 1985, first in San Antonio, Texas and then in El Paso, Texas and then
returning to San Antonio, Texas in 1998. | have concentrated my practice in commercial litigation,
banking, bankruptcy and creditor’s rights. | have maintained my practice in these areas for over
20 years.

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Exhibit 1

 
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A. The Summary Judgment Evidence

| have personal knowledge that the following documents are not currently a part of the
court's file and that they are true and correct copies of the originals as filed in support of the Motion
For Summary Judgment of KeyBank, N A. in the above-styled and numbered cause:

the Affidavit of Cassidy Emerson with Exhibits;

Affidavit of Pat McElroy with Exhibits;

KEY’s First Request for Production to Plaintiffs;

selected documents produced by Plaintiffs in response to KEY’s First Request for
Production;

cited excerpts and Exhibits from the Deposition of Deborah Parker; and

cited excerpts from the Deposition of Donald Parker.

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True, correct and complete copies of each of the foregoing items are attached to the Index
of Exhibits in Support of Defendant’s Motion For Summary Judgment. Specifically, as counsel! for
KeyBank, N.A., | intend to use the foregoing documents in support of the Motion for Summary
Judgment, Counsel for Plaintiffs herein will be served with a true and correct copy of this affidavit
and all attachments at least 10 days prior to any hearing on the Motion for Summary Judgment.

| personally participated in the oral examinations, by transcribed deposition of Deborah
Parker on August 30, 2007 and Donald Parker on August 30, 2007. The cited excerpts and Exhibits
from the Deposition of Deborah Parker attached hereto as Exhibit G and the cited excerpts from
the Deposition of Donald Parker attached hereto as Exhibit H are a true and accurate transcription
of my questions to the deponents and the testimonies of the witnesses in response thereto. The
affidavits of Cassidy Emerson and Pat McElroy were each prepared and signed in connection with
and for the purpose of the presentation of evidence under the Motion For Summary Judgment. The
discovery and responses attached hereto was generated in connection with this case. The
requests were generated by me and other aitorneys with Morgan & Luttrell, LLP under my
supervision. The discovery responses were provided to me by counsel for Plaintiffs. The discovery
requests and responses attached hereto are true and correct copies of those maintained in the file
of Morgan & Luttrell, LLP for this case.

Further, AFFIANT sayeth not.”

   

SIGNED on this 15" day of January 2008.

 

 

Lesip M. Luttrell
AFRIANT

SUBSCRIBED AND SWORN TO BEFORE ME on this 15" day of January 2008, by Leslie M.
Luttrell.

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Notary Public in and for the State of Texas

 

 

 

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